Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 1 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 2 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 3 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 4 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 5 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 6 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 7 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 8 of 9
Case 2:19-bk-15333-EPB   Doc 20 Filed 01/14/20 Entered 01/14/20 16:40:45   Desc
                          Main Document    Page 9 of 9
